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     SARAH E. TROUT
 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                        )       No. 2:12-CR-00364 GEB
                                                      )
11
                                                      )       STIPULATION REGARDING
            Plaintiff,                                )       EXCLUDABLE TIME PERIODS UNDER
12
                                                      )       SPEEDY TRIAL ACT; [PROPOSED]
     v.                                               )       FINDINGS AND ORDER
13
                                                      )
     SIMEON SHAWNISE GREGORY                          )
14
                                                      )
     SARAH ELIZABETH TROUT                            )
15   THERESA HELENA CAMPBELL                          )
     TERRANCE RYCHAN SMALLS,                          )
16
                                                      )
                                                      )
17          Defendants.
18

19

20                                       STIPULATION
21          Plaintiff United States of America, by and through its counsel of record, and the

22   defendants, by and through each counsel of record, hereby stipulate as follows:
23
            1.       By previous order, this matter was set for status on May 3, 2013.
24
            2.       By this stipulation, the defendants now move to continue the status conference
25
     until June 28, 2013, and to exclude time between May 3, 2013, and June 28, 2013, under Local
26

27   Code T4. Plaintiff does not oppose this request.

28          3.       The parties agree and stipulate, and request that the Court find the following:


                                                          1
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            a.       The government has represented that the discovery associated with this case
 1

 2   includes 3,566 pages of investigative reports and related documents. All of this discovery has

 3   been produced directly to counsel.
 4
            b.       Counsel for the defendants desires additional time to consult with their respective
 5
     clients, to review the current charges, to conduct investigation and research related to the
 6

 7
     charges, to review and copy discovery for this matter, to discuss potential resolutions with their

 8   clients, to prepare pretrial motions, and to otherwise prepare for trial.
 9          c.       Counsel for the defendants believe that failure to grant the above-requested
10
     continuance would deny them the reasonable time necessary for effective preparation, taking into
11
     account the exercise of due diligence.
12

13          d.       The government does not object to the continuance.

14          e.       Based on the above-stated findings, the ends of justice served by continuing the
15
     case as requested outweigh the interest of the public and the defendants in a trial within the
16
     original date prescribed by the Speedy Trial Act.
17
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
18

19   et seq., within which trial must commence, the time period of May 3, 2013, to June 28, 2013,

20   inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
21
     because it results from a continuance granted by the Court at defendants’ request on the basis of
22
     the Court's finding that the ends of justice served by taking such action outweigh the best interest
23
     of the public and the defendants in a speedy trial.
24

25          4.       Nothing in this stipulation and order shall preclude a finding that other provisions

26   of the Speedy Trial Act dictate that additional time periods are excludable from the period within
27
     which a trial must commence.
28




                                                       2
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 1

 2   IT IS SO STIPULATED.

 3   Dated: May 2, 2013                                  BENJAMIN WAGNER
                                                         U.S. ATTORNEY
 4

 5                                               by:     /s/ David D. Fischer for
                                                         JARED C. DOLAN
 6                                                       Assistant U.S. Attorney
 7
                                                         Attorney for Plaintiff

 8
     Dated: May 2, 2013                                  /s/ David D. Fischer for
 9                                                       JEFFREY L. STANIELS
10
                                                         Attorney for Defendant
                                                         SIMEON SHAWNISE GREGORY
11
     Dated: May 2, 2013                                  /s/ David D. Fischer
12
                                                         DAVID D. FISCHER
13                                                       Attorney for Defendant
                                                         SARAH ELIZABETH TROUT
14
     Dated: May 2, 2013                                  /s/ David D. Fischer for
15
                                                         OLAF HEDBERG
16                                                       Attorney for Defendant
                                                         THERESA HELENA CAMPBELL
17
     Dated: May 2, 2013                                  /s/ David D. Fischer for
18
                                                         STEVEN B. PLESSER
19                                                       Attorney for Defendant
                                                         TERRANCE RYCHAN SMALLS
20

21                                     ORDER
22

23   IT IS SO FOUND AND ORDERED.
24   Date: 5/2/2013
25
                                    ___________________________________
26                                  GARLAND E. BURRELL, JR.
27
                                    Senior United States District Judge

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